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                                UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF OHIO

                                     EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                  MDL 2804
OPIATE LITIGATION                            Case No. 17-md-2804
This document relates to:                    Hon. Dan Aaron Polster
Track One Cases




  PLAINTIFFS’ POSITION STATEMENT REGARDING A JURY TRIAL ON
                              THE PUBLIC NUISANCE CLAIM




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        This position statement is filed in response to Special Master Cohen’s request of September

10, 2019, for the parties to address “the right to trial by jury of Plaintiffs’ nuisance claims under

Ohio law.” That request sought briefing, inter alia, on the following issues: (1) whether Plaintiffs or

Defendants have a right to trial by jury of Ohio public nuisance claims; (2) if so, whether that right

arises with respect only to whether Defendants caused a nuisance, or whether it also attaches to the

question of remedy, or whether there are other aspects of nuisance claims that must be decided by a

jury; (3) whether the parties consent to trial by jury of the nuisance claims, even if there is no right to

a jury trial;1 and (4) the parties’ positions on the use of the existing jury as an advisory jury for

nuisance if there is no right to a jury.

        As explained below, there is no right to a jury trial on a public nuisance claim for abatement.

Plaintiffs take no position and defer to the Court’s decision as to whether to use an advisory jury

regarding that claim.

I.      There Is No Right To A Trial By Jury For An Ohio Public Nuisance Claim Seeking
        Abatement.

        A. The Right To A Jury Trial In These Circumstances Is Governed By Federal Law.

        “[T]he right to a jury trial in the federal courts is to be determined as a matter of federal law

in diversity as well as other actions.” James v. Vitran Exp., Inc., No. 1:11-CV-23, 2011 WL 4344064,

at *1 (N.D. Ohio Sept. 14, 2011) (quoting Simler v. Conner, 372 U.S. 221, 222, 83 S.Ct. 609, 9 L.Ed.2d

691 (1963)). While state law is not entirely irrelevant to the inquiry, the ultimate question is still one

of federal law: “In diversity cases, of course, the substantive dimension of the claim asserted finds

its source in state law, ... but the characterization of that state-created claim as legal or equitable for




1If the Court agrees that there is no right to a jury trial on the public nuisance claim, Plaintiffs at this time do
not consent to a jury trial on that claim.

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purposes of whether a right to jury trial is indicated must be made by recourse to federal law.” James,

supra. Thus, any right to a jury trial in this case is determined by federal law.2

        B.       There Is No Right To A Jury Trial On A Public Nuisance Claim For
                 Abatement.

        The Seventh Amendment provides that, “[i]n Suits at common law, where the value in

controversy shall exceed twenty dollars, the right of trial by jury shall be preserved.” U.S. Const.

amend. VII. The Supreme Court has construed this language to require a jury trial on actions that

are analogous to “[s]uits at common law.” Tull v. United States, 481 U.S. 412, 417 (1987). The Court

in Tull set forth the following test:

        To determine whether a statutory action is more similar to cases that were tried in
        courts of law than to suits tried in courts of equity or admiralty, the Court must
        examine both the nature of the action and of the remedy sought. First, we compare
        the statutory action to 18th-century actions brought in the courts of England prior to
        the merger of the courts of law and equity. Second, we examine the remedy sought
        and determine whether it is legal or equitable in nature.


Tull, 481 U.S. at 417–18 (citations and footnotes omitted). The Supreme Court has since clarified

that “[t]he second inquiry is the more important in [the Court’s] analysis.” Chauffeurs, Teamsters and

Helpers, Local No. 391 v. Terry, 494 U.S. 558, 565 (1990) (holding that a plaintiff seeking backpay for a

union’s alleged breach of its duty of fair representation has a right to a jury trial).

        Applying the Tull test, the public nuisance claims for abatement at issue here are akin to

claims that would have been tried in courts of equity, such that there is no Seventh Amendment

right to a jury. On the first step, a public nuisance action was considered an equitable action at

common law. See, e.g., Mugler v. Kansas, 123 U.S. 623, 673 (1887) (recognizing that courts of equity

have jurisdiction over public nuisance cases and that a jury trial “is not required in suits in equity


2  Notably, the ultimate conclusion that there is no right to a jury trial in an equitable abatement action would
likely be the same under Ohio law. See State ex rel. Miller v. Anthony, 72 Ohio St. 3d 132, 136, 647 N.E.2d
1368, 1371 (1995) (State Constitution did not confer right to jury trial in nuisance abatement action).


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brought to abate a public nuisance.”); Pennsylvania v. The Wheeling and Belmont Bridge Co., 54 U.S. 518,

522, 562 (1851) (exercising original jurisdiction as court of equity over public nuisance action for

abatement); Wedel v. United States, 2 F.2d 462, 462 (9th Cir. 1924) (recognizing that courts of equity

had jurisdiction over public nuisances “to give a more speedy, effectual, and permanent remedy than

can be had at law,” and therefore rejecting a right to jury trial for a suit to abate a public nuisance).3

        Second, the abatement remedy in a public nuisance action is plainly equitable, as the

Supreme Court itself recognized in Tull, and as this Court has already held.4 In deciding whether the

Seventh Amendment guaranteed a jury trial for a Government action seeking civil penalties and

injunctive relief under the Clean Water Act, Tull distinguished civil penalties, which were punitive in

nature (and could only be enforced in courts of law), from the injunctive relief provided to abate a

public nuisance, which is equitable:

        A public nuisance action was a classic example of the kind of suit that relied on the injunctive relief
        provided by courts in equity. “Injunctive relief [for enjoining a public nuisance at the
        request of the Government] is traditionally given by equity upon a showing of [peril
        to health and safety].”



3 The “substantive” character of a public nuisance claim for abatement as equitable is further supported by
state law. See, e.g., State ex rel. Miller v. Anthony, 72 Ohio St. 3d at 136, 647 N.E.2d at 1371 (applying Tull-type
analysis to conclude that the Ohio nuisance abatement provisions “are equitable in nature and not created by
common law”); id. (relying on Supreme Court’s characterization of an abatement action as “not a common
law action, but a summary proceeding more in the nature of a suit in equity” and describing an abatement
order as “unknown to an action at common law as administered in this country”) (quoting Cameron v. United
States, 148 U.S. 301, 304, 13 S.Ct. 595, 597 (1893)); State ex rel. Chalfin v. Glick, 172 Ohio St. 249, 253, 175
N.E.2d 68, 73 (1961) (general jurisdiction of a court of equity to restrain nuisances includes “nuisances
dangerous to public health, morals, safety or welfare, and injunctions have issued to protect the public from
irreparable injury”); Hamilton v. Ebbing, 2012-Ohio-2250, ¶ 26 (Ohio App. 12 Dist. 2012) (“Both the United
States Supreme Court and the Supreme Court of Ohio have found that a nuisance abatement action is not a
common law action, but rather a suit in equity. . . Accordingly, there is no right to a jury trial in a nuisance
abatement action.”); City of Cincinnati v. Steinkamp, 54 Ohio St. 284, 289, 43 N.E. 490, 491 (1896) (court of
equity had power to enjoin violations of building code as a nuisance without violating right to jury trial).

4 See Order Denying Plaintiffs’ Motion for Partial Summary Adjudication of their Equitable Claims for
Abatement of an Absolute Public Nuisance (Doc. 2572), at p. 5 (holding Plaintiffs’ nuisance abatement claim
seeks an equitable remedy); Order dated August 26, 2019 denying Defendants’ Motion to Exclude Expert
Testimony Purporting to Relate to Abatement Costs and Effects. (Doc. #: 2519) at 2-3 (same).


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Tull, 481 U.S. at 423, 107 S. Ct. at 1838 (emphasis added and citations omitted). Particularly

considering the Supreme Court’s instruction in Chauffeurs that the nature of the remedy is the more

important of the two-part test, an abatement action for public nuisance is not an action to which a

jury right attaches.

        Indeed, a number of Courts applying Tull’s test have concluded that a public nuisance

abatement action is an equitable action that does not implicate the Seventh Amendment. See, e.g.,

Nat'l Ass'n For the Advancement of Colored People (NAACP) v. Acusport Corp., 226 F. Supp. 2d 391, 397

(E.D.N.Y. 2002) (citing authorities) (public nuisance action challenging the proliferation of firearm

sales and seeking “recovery of costs incurred in abatement are equitable”); United States v. Wade, 653

F. Supp. 11, 13 (E.D. Pa. 1984) (“[T]he Commonwealth has elected to seek recovery only of its costs

incurred in abating the nuisance . . . . relief [that] is in the nature of equitable restitution. The non-

generator defendants therefore have no right to a trial by jury of the issues presented in the nuisance

count.”); Conner v. City of Santa Ana, 897 F.2d 1487, 1493 (9th Cir. 1990) (“The City was proceeding

to abate a nuisance; it was not proceeding under a criminal forfeiture statute. Therefore, a jury was

not required to determine whether the Conners' automobiles constituted a nuisance. . . .”); Citizens

for Alternatives to Radioactive Dumping v. CAST Transportation, Inc., No. CV 99-321 MCA/ACT, 2004

WL 7338006, at *15 (D.N.M. Sept. 30, 2004) (court in public nuisance abatement action concluded

that “both the nature of the cause of action and the remedy sought here compel the conclusion that

this action is one in equity to which no constitutional right to a jury trial attaches.”).

        To the extent there is language in Mugler v. Kansas, supra, that suggests that a jury is required

when the existence of a public nuisance is disputed, see 123 U.S. at 623 (“the question of nuisance or

not must in cases of doubt be tried by a jury”), that language is dicta. Mugler addressed a criminal

prosecution for violation of state liquor laws, not a public nuisance. In any event, the Supreme

Court’s later approach in Tull and Chauffeurs undermines that language.


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        In City of New York v. Beretta, U.S.A. Corp., 312 F. Supp.2d 411, 414 (E.D.N.Y. 2004), the

district court, in an abundance of caution, ordered a jury trial in a public nuisance case. Id. (“One

guiding beacon has been lit by the Supreme Court: when in doubt, grant a jury trial.”). Beretta

reasoned that the “precedential value and impact of such a case is likely to be substantial,” and that

“[a] jury is likely to enhance the sense of parties and public that justice has been served—providing

the litigation with greater moral as well as legal force.” Id. at 414. As that court further noted, “[o]n

appeal, if the appellate court desires findings of fact and law by the bench, the trial court can readily

prepare them on remand.” Id. at 414-415. However, Beretta did not address Federal Rule of Civil

Procedure 39(a), which provides that, when a jury trial has been demanded, trial must be by jury

unless either the parties stipulate to a non-jury trial or the court finds that “there is no federal right to

a jury trial.” Here, because there is no federal right to a jury trial on the public nuisance abatement

claim, absent agreement by the parties, Rule 39 dictates that a jury shall not try the claim.

        Plaintiffs note that, as of now, in addition to the equitable public nuisance abatement claim,

Plaintiffs intend to try both their RICO claims and to seek punitive damages arising from public

nuisance, each of which would require a jury trial. See, e.g., NSC Int’l Corp. v. Ryan, 531 F. Supp. 362,

363 (N.D. Ill. 1981) (applying test analogous to Tull to conclude that RICO requires jury trial); Tull,

481 U.S. at 422-24 (punitive damages must be decided by courts of law); Johnson v. AK Steel Corp.,

No. 1:07-CV-291, 2008 WL 11352633, at *2 (S.D. Ohio July 10, 2008) (finding right to jury trial for

punitive damages which are “purely legal”).

II.     Plaintiffs Take No Position On The Use Of An Advisory Jury For The Public
        Nuisance Claim.

        Federal Rule of Civil Procedure 39(c) provides that where there is no right to a jury trial, the

Court may, on its own or upon a motion, appoint an advisory jury. The Court may opt to use an

advisory jury without the consent of the parties. If the Court appoints an advisory jury it must



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communicate that decision to the parties before the start of trial. Thompson v. Parkes, 963 F.2d 885,

887-89 (6th Cir. 1992).

        A jury may serve as a binding jury on some issues (where there is a right to a jury trial), and

as an advisory jury on other issues (where no jury trial right inheres). See, e.g., Turturice v. AEP Energy

Servs., Inc., 2008 Ohio 1835, ¶¶ 17-19, 2008 WL 1759078, at * 4 (Ohio App. 10 Dist. 2008). Thus,

for example, if plaintiffs try the RICO claims along with the public nuisance claim for abatement, a

binding jury deciding the RICO claims could also serve as an advisory jury on the public nuisance

abatement issues.

        In sum, whether the Court chooses to use an advisory jury on the claim for abatement of the

public nuisance is within this Court’s discretion. For that reason, Plaintiffs defer to the Court’s

judgment and take no position on that issue.

Dated: September 13, 2019                        Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 13th day of September, 2019, I have electronically filed

the foregoing with the Clerk of Court using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF system.


                                           s/Peter H. Weinberger
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